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 RICHARD S. COHEN (Admitted Pro Hac Vice)
 JACKSON LEWIS P.C.
 2398 East Camelback Road, Suite 1060
 Phoenix, AZ 85016
 Telephone: (602) 714-7044
 Facsimile: (602) 714-7045
 Email:    cohenr@jacksonlewis.com

 NICKY JATANA              (Admitted Pro Hac Vice)
 JACKSON LEWIS P.C.
 725 S. Figueroa Street, Suite 2500
 Los Angeles, CA 90017
 Telephone: (213) 689-0404
 Facsimile: (213) 689-0430
 E-mail: jatanan@jacksonlewis.com
 Attorneys for Defendants
 WYNDHAM WORLDWIDE CORPORATION,
 WYNDHAM VACATION OWNERSHIP, INC.,
 WYNDHAM VACATION RESORTS, INC.,
 MICHAEL JONAH and TOM VIRAG

                  IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF HAWAI`I


 LIANE WILSON and JOANNA                  Case No. CV 11-00538 LEK BMK
 WHEELER, on behalf of themselves
             Plaintiffs,                  JOINT STIPULATION AND
       vs.                                [PROPOSED] ORDER OF
                                          DISMISSAL
 WYNDHAM WORLDWIDE
 CORPORATION, WYNDHAM
 VACATION OWNERSHIP, INC.,
 WYNDHAM VACATION RESORTS,
 INC., MICHAEL JONAH, MARK
 POLLARD, TOM VIRAG, DOE I
 through X, and ROE BUSINESS
 ENTITIES I through X, inclusive,
             Defendants.
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      JOINT STIPULATION AND [PROPOSED] ORDER OF DISMISSAL


        The parties, through their undersigned counsel, hereby stipulate and
  agree to dismiss all remaining claims in this lawsuit with prejudice, with each
  party to bear its own attorneys’ fees and costs.


  Dated: September 9, 2014.


  Respectfully Submitted,

By:/s/ Richard S. Cohen                    By:/s/ Carl M. Varady
  Richard S. Cohen                            Carl M. Varady
  Jackson Lewis P.C.                          Pauahi Tower
  2398 E. Camelback Road, Ste #1060           1003 Bishop Street, Suite 1730
  Phoenix, AZ 85016                           Honolulu, HI 96813
  Telephone: (602) 714-7062                   Telephone: (808) 523-8447
  Facsimile: (602) 714-7045                   Facsimile: (808) 523-8448

Attorneys for Defendants                   By:/s/ Felicia Medina
WYNDHAM WORLDWIDE                             Felicia Medina
CORPORATION, WYNDHAM                          Sanford Heisler, LLP
VACATION OWNERSHIP, INC.,                     555 Montgomery Street, Ste 1206
WYNDHAM VACATION RESORTS,                     San Francisco, CA 94111
INC., MICHAEL JONAH and                       Telephone: (415) 795-2020
TOM VIRAG                                     Facsimile: (415) 795-2021

By:/s/ Wesley M. Fujimoto                  Attorneys for Plaintiffs
  Wesley M. Fujimoto                       LIANE WILSON
  Ashford & Wriston
  1099 Alakea St., Suite 1400
  Honolulu, HI 96813
  wfujimoto@awlaw.com

Attorney for Defendant
MARK POLLARD




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 APPROVED AND SO ORDERED:

 Dated:________________, 2014      ___________________________________
                                   UNITED STATES MAGISTRATE JUDGE




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